Case:17-03283-LTS Doc#:6992 Filed:05/16/19 Entered:05/16/19 17:06:31                                       Desc: Main
                           Document Page 1 of 3




                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF PUERTO RICO


 In re:                                                                  PROMESA Title III

 THE FINANCIAL OVERSIGHT AND                                             Case No. 17-BK-3283-LTS
 MANAGEMENT BOARD FOR PUERTO RICO
                                                                         (Jointly Administered)
          as representative of

 THE COMMONWEALTH OF PUERTO RICO, et al.

          Debtors1


  RESERVATION OF RIGHTS AND JOINDER OF RAYMOND JAMES TO THE JOINT
   LIMITED OBJECTION OF BANK DEFENDANTS TO URGENT MOTION OF THE
   FINANCIAL OVERSIGHT AND MANAGEMENT BOARD OF PUERTO RICO TO
        ENFORCE ORDER UNDER BANKRUPTCY RULES 1007(I) AND 2004
              AUTHORIZING DISCOVERY AND COMPELLING
              DISCLOSURE OF LISTS OF SECURITY HOLDERS

 To the Honorable United States District Judge Laura Taylor Swain:

          Raymond James (the “Joining Party”)2 respectfully submits this reservation of rights and

 joinder to the Joint Limited Objection of Bank Defendants to Urgent Motion of the Financial

 Oversight and Management Board of Puerto Rico to Enforce Order Under Bankruptcy Rules

 1007(i) and 2004 Authorizing Discovery and Compelling Disclosure of Lists of Security Holders,

 ECF No. 6900 (the “Limited Objection”).


 1
   The Debtors in these Title III cases, along with each Debtor’s respective Title III case number and the last four (4)
 digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto Rico
 (the “Commonwealth”) (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii)
 Puerto Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four
 Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy
 Case No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
 Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four
 Digits of Federal Tax ID: 9686); and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17
 BK 4780-LTS) (Last Four Digits of Federal Tax ID: 3747). (Title III case numbers are listed as Bankruptcy Case
 numbers due to software limitations.)
 2
   In or about 2012, the Joining Party acquired Morgan Keegan, another broker-dealer identified in these proceedings.
Case:17-03283-LTS Doc#:6992 Filed:05/16/19 Entered:05/16/19 17:06:31                      Desc: Main
                           Document Page 2 of 3



      1. On May 7, 2019, the Special Claims Committee for the Financial Oversight and

 Management Board for Puerto Rico (the “SCC”) filed the Urgent Motion of the Financial

 Oversight and Management Board of Puerto Rico to Enforce Order Under Bankruptcy Rules

 1007(i) and 2004 Authorizing Discovery and Compelling Disclosure of Lists of Security Holders,

 ECF No. 6853 (the “Motion”).

    2. On May 10, 2019, certain Participant Holders (as defined in the Motion) already sued by

 the SCC in one or more adversary proceedings filed in the above-captioned matter submitted the

 Limited Objection.

    3. The Joining Party, which has also been sued by the SCC in the adversary proceeding filed

 on May 2, 2019 in the above-captioned matter, hereby joins in the Limited Objections for the

 reasons set forth therein.

    4. Although the Joining Party was served with a copy of the First Discovery Order, service

 of the Order was so late that the Joining Party could not feasibly respond by the initial deadlines.

 Furthermore, the Joining Party had no opportunity to participate in the discussions that resulted

 in the consensual Confidentiality Order.

    5. To date, the Joining Party has not been served with a copy of the Second Discovery

 Order (ECF No. 6493), and only discovered the Order through the Joining Party’s own review of

 the docket in this matter. Furthermore, the Joining Party has not been served with a copy of the

 Notice of Filing of Corrected Appendix 3 to Urgent Motion of the Financial Oversight and

 Management Board of Puerto Rico to Enforce Order under Bankruptcy Rules 1007(i) and 2004

 Authorizing Discovery and Compelling Disclosure of Lists of Security Holders (ECF 6864),

 even though that notice dramatically expanded the number of relevant ERS CUSIPs from 3 to

 26, with production due only six business days later.




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Case:17-03283-LTS Doc#:6992 Filed:05/16/19 Entered:05/16/19 17:06:31                       Desc: Main
                           Document Page 3 of 3



    6.   Notwithstanding the foregoing, the Joining Party is working diligently and in good faith

 to collect and produce the requested information. To the extent the Second Discovery Order and

 Confidentiality Order raise issues that require further clarification, the Joining Party reserves all

 rights, including to seek further guidance from this Court.



         RESPECTFULLY SUBMITTED.

         In San Juan, Puerto Rico, this 16th day of May, 2019.




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